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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA

 GOOGLE LLC,

                               Defendant.




 STATE OF COLORADO, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                  HON. AMIT P. MEHTA

 GOOGLE LLC,

                               Defendant.



                              ORDER GRANTING JOINT
                          MOTION TO CORRECT THE RECORD

       The parties’ Joint Motion to Correct the Record is granted.

       The Court hereby orders that the evidentiary hearing record shall be corrected as

indicated in the Correction column in the table below. Transcription errors have been crossed

through and the corrected text, or text that was incorrectly omitted and should be added, has been

underlined.




                                                1
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Hearing        Start   Start      End        End Correction
Session        Page    Line       Page       Line
4.21 PM        161     17         161        17   where they asked ChatGBT
(Durrett)                                         ChatGPT
4.21 PM        205     24         205        24   And you would agree that, for
(Durrett)                                         example, ChatGBT ChatGPT,
4.21 PM        206     4          206        4    Certainly, the GBT GPT models
(Durrett)                                         are large language
4.21 PM        206     7          206        7    ChatGBT ChatGPT has, and I
(Durrett)                                         also
4.21 PM        206     10         206        10   no ChatGBT ChatGPT -- I would
(Durrett)
4.21 PM        206     13         206        13    ChatGBT ChatGPT is a general
(Durrett)                                          search engine or is soon to
                                                   become a
4.22 AM        355     25         355        25    It also removes the search in and
(Fitzgerald)                                       Chrome placement
4.22 AM        401     15         401        15    Can an LLM replace the need for
(Turley)                                           ClicData click data?
4.22 AM        401     23         401        24    But the ClicData click data
(Turley)                                           allows us to train the search
                                                   system itself or make the search
                                                   system itself.
4.22 AM        401     25         402        1     Put another way, the ClicData
(Turley)                                           click data helps us build the
                                                   search piece.
4.23 AM        686     12         686        12    another provider will come up
(Hsiao)                                            with a new model that is better
4.25 PM        1684    5          1684       5     have a fuzzy fuzzing
(Tabriz)                                           infrastructure which is critical for
                                                   our
4.25 PM        1685    4          1685       4     we can work from shared co-
(Tabriz)                                           bases code bases
4.28 AM        1817    2          1817       3     if they keep their, you know,
(Epstein)                                          super competitive
                                                   supracompetitive pricing to their
                                                   advertisers
4.28 PM        1965    7          1965       9     I can imagine Bing or
(Luca)                                             DuckDuckGo trying to tell
                                                   people how to navigate to Bing
                                                   or DuckDuckGo.
4.29 PM        2180    6          2180       8     Google’s -- under Google’s
(Chipty)                                           proposals, they would still be
                                                   able to pay Apple, and that
                                                   would encourage discourage


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                                                  entry by Apple or Apple
                                                  sponsoring entry.
4.30 PM       2647     18       2647       18     cloud, provided cloud provider
(Nieh)                                            the problem of scaling up your
                                                  product
4.30 PM       2684     8        2684       8      Definitely not, I haven't done the
(Zenner)                                          work
5.6 AM        3541     1        3541       2      You can can’t promise that there
(Reid)                                            isn't a side effect to a different
                                                  part of the page.
5.7 AM        3829     12       3829       12     Has Apple thought about what it
(Cue)                                             would to do in that
5.8 PM        4353     16       4353       19     Just as in this case we emphasize
(Murphy)                                          the affect effect going forward
                                                  here proxied by Shear share,
                                                  they’re proxied by the strength
                                                  that those potential competitors
                                                  would offer competing against
                                                  Microsoft. So in both cases, we
                                                  are focused on forward-looking.
5.8 PM        4362     20       4362       22     You talked on your direct how
(Murphy)                                          you think payment bands bans
                                                  will harm distributors and users;
                                                  is that right?
5.8 PM         4466    14       4466       14     MS. TRENT MS. CONNOR
(Muralidharan)



SO ORDERED.                                  Amit Digitally        signed
                                                          by Amit Mehta
                                                          Date: 2025.06.11
                                             Mehta        23:54:01 -04'00'
                                           ______________________________
                                                      Amit P. Mehta
                                                United States District Judge




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